 

UNITED STATES DISTRICT COU

e 8:17-cr-00061-DOCcEN PRAT BISTRICT OF CA

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CASE SUMMARY

case Numigy AA { R 4 1-00 ¢ |

U.S.A. v. James Chen “

[_] Indictment Information

Investigative agency (FBi, DEA, etc.)

Defendant Number 1

 

Year of Birth 1969
DCIS/FBI

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE

a. Offense charged as a:

[ | Class A Misdemeanor
[_] Class B Misdemeanor

[_] Minor Offense [] Petty Offense

[_] Class C Misdemeanor [¥] Felony

b. Date of Offense January-June 2015

c. County in which first offense occurred

Orange

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

Los Angeles [_] Ventura
Orange [_] Santa Barbara
[_] Riverside [] San Luis Obispo
[_] San Bernardino [_] Other

Citation of Offense 18U.S.C. Sec. 1347

 

 

e. Division in which the MAJORITY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)

[_] Eastern (Riverside and San Bernardino) [| Southern (Orange)
RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously

No [_] Yes

filed and dismissed before trial?

IF YES Case Number N/A
Pursuant to General Order 16-05, criminal cases may be related

 

if a previously filed indictment or information and the present

case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED
CASE N/A

 

CR-72 (10/16)

CASE SUMMARY

PREVIOUSLY FILED COMPLAINT

A complaint was previously Med on: NAA

 

 

 

 

 

 

eS
Case Number N/A =
Ca
Charging N/A bes ne S _“
The complaint: [_] is still serlting™ UG
\ cae =e
[] was dismissed on: N/A a eS
PREVIOUS COUNSEL 1 en
Was defendant previously represented? > _ [No [_] Yes
IF YES, provide Name: N/A t
Phone Number: N/A
COMPLEX CASE

Are there 8 or more defendants in the Indictment/Information?
[_] Yes* [¥] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[ | Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
UME REE INDICTMENT IS FILED iF EITHER "YES" BOX IS

Superseding Indictment/Information

[_] Yes

This is the N/A superseding charge, i.e. 1st, 2nd.

The superseding case was previously filed on:
N/A

IS THIS A NEW DEFENDANT? No

Case Number N/A
The superseded case:

[_] is still pending before Judge/Magistrate Judge
N/A

[_] was previously dismissed on N/A
Are there 8 or more defendants in the superseding case?
[_] Yes* [_] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?
[_] No

[_] Yes*

 

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UNITED STATES TOL COURT

Case 8:17-cr-00061-DOG-eNGBAT OIE FRIET ORAS

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CASE SUMMARY

 

Was a Notice of Complex Case filed on the Indictment or
Information?

[| Yes No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
FILED IF EITHER "YES" BOX IS CHECKED.

Is an interpreter required? [| YES NO
IF YES, list language and/or dialect:

 

N/A

OTHER
Male [] Female
U.S. Citizen [_] Alien

Alias Name(s) N/A

 

 

This defendant is charged in: All counts

[-] Only counts: N/A

 

[] This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[_ | This defendant is designated as "Special Case” per

18 USC § 3166 (b)(7).
Is defendant a juvenile? [_]Yes No
IF YES, should matter be sealed? [_] Yes [ ] No

The area of substantive law that will be involved in this case
includes:

[_] financial institution fraud [_] public corruption
[|_| tax offenses

[| mail/wire fraud

[_] government fraud

[_] environmental issues
[_] narcotics offenses [_] immigration offenses
[_] violent crimes/firearms [_] corporate fraud

Other health care fraud

 

 

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: n/a: surrender

b. Posted bond at compiaint level on: N/A

 

in the amount of $ N/A
c. PSA supervision? L_] Yes [ ]No
d. Is on bail or release from another district:
N/A

 

Defendant is in custody:

|_| State [_] Federal

a. Place of incarceration:

b. Name of Institution: N/A

 

c. If Federal: U.S. Marshal's Registration Number:
N/A

d.[_] Solely on this charge. Date and time of arrest:

 

N/A
e. On another conviction: [_] Yes [_] No
IFYES:  [_] State [_] Federal [_] Writ of Issue
f. Awaiting trial on other charges: C] Yes [] No
IFYES: —[_] State [_] Federal AND

Name of Court: N/A

 

Date transferred to federal custody: N/A

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN: N/A

 

 

 

 

 

/s/
Date __ 06/16/2017 Signature of Assistant U.S. Attorney
Mark Aveis
Print Name
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